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 4                        UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF CALIFORNIA
 6   ROBERT HARRIS,                           1:07-CV-01210-OWW-SMS
 7                             Plaintiff,     ORDER VACATING ORDER
 8                                            DISMISSING CASE WITHOUT
                    v.                        PREJUDICE (DOC. 122)
 9   CITY OF FRESNO,
10                             Defendant.
11
12        On July 27, 2009, the parties notified the Court that they

13   had reached a negotiated settlement and that they would be

14   requesting dismissal of the action with prejudice.        Doc. 119.     On

15   August 20, 2009, Plaintiff submitted a “Notice of Entry of

16   Dismissal Without Prejudice,” indicating that, pursuant to

17   Federal Rule of Civil Procedure 41(a)(1)(A)(i), he was

18   “voluntarily dismiss[ing] this case without prejudice,” and that

19   “each party is to bear its/her own fees and costs.”        Doc. 120.

20   On August 24, 2009, Defendant City of Fresno filed an objection

21   to dismissal without prejudice, arguing: (1) that Plaintiff’s

22   unilateral dismissal violates Federal Rule of Civil Procedure

23   41(a); and (2) Plaintiff’s dismissal sets forth an inaccurate

24   representation of the terms of the parties’ agreement to resolve

25   the case.   Doc. 121.

26        Defendant’s objection based upon Rule 41 is well founded.

27   Rule 41(a)(1)(A)(i) permits voluntary dismissal as a matter of

28   right only before the opposing party has served either an answer

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 1   or a motion for summary judgment.        Otherwise, Rule
 2   41(a)(1)(A)(ii) permits voluntary dismissal of an action without
 3   a court order only upon “stipulation of dismissal signed by all
 4   parties who have appeared.”      Nor does Plaintiff invoke Rule
 5   41(A)(2) which permits dismissal at the plaintiff’s request “by
 6   court order, on terms that the court considers proper.”
 7            Notwithstanding Defendant’s objection, on August 26, 2009,
 8   the court inadvertently entered an order granting Plaintiff’s
 9   request for voluntary dismissal.        Doc. 122.   Pursuant to Federal
10   Rule of Civil Procedure 60(a)(corrections based on clerical
11   mistakes; oversights and omissions), this order is VACATED.
12   Plaintiffs is ordered to file a stipulation of dismissal, a
13   motion for dismissal pursuant to Rule 42(a)(2), or a status
14   report on or before September 11, 2009.
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16   IT IS SO ORDERED.
17   Dated:     August 26, 2009            /s/ Oliver W. Wanger
     b2e55c                           UNITED STATES DISTRICT JUDGE
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